              Case 2:21-mj-01275-DUTY Document 2 Filed 03/15/21 Page 1 of 1 Page ID #:2
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Submit this form by e mail to:
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                                                 UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA

                                                                                F:ASE Nl~MBER:
UNITED STATES OF AMERICA                                                                                  21-30011-DWD-1
                                                               PLAINTIFF
                     V.

                                                                                        RF~(lRT C'[1144i~Z~Nf:I           _RiMiNAt__

                                                                                                          ACTION
USMSa                                                       DEFENDANT'

TO: CLERK'S OFFICE, U.S. DISTRICT COURT
                                                                                                                     ~;      ~ ~             ~ ~ ~
                                                                                                                                                 a

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• The defendant was arrested in this district on 03/15/2021                            at 1240        ❑ AM Ox PM
     or
     The defendant was arrested in the                          District of                        on           at                     ❑ AM ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:                ~ Yes         (—] No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                          ~ Xes     [=j No

4. Charges under which defendant has been booked:

     18 USC 1349 BANK FRAUD

S. Offense charged is a:            ~ Felony            ❑Minor Offense                 ❑ Petty Offense        (—j Other Misdemeanor

6. Interpreter Required:            ~x No       ❑Yes           Language:

~• Year of Birth: 2001

8. Defendant has retained counsel:                   ~ No
     ❑ Yes         Name:                                                                Phone Number:

9• Name of Pretrial Services Officer notified: VIVVIAN VILLEGAS

10. Remarks (if any):

1 1. Name: ZULMA MACHADO                                                (please print)

12. Office Phone Number:21                 0--8325                                          13• Agency: USMS
                    ~~                                     .-
14. Signature:                                                                              1S• Date: 03/15/2021

CR-64(09!20)                                         REPORT COMMENCING CRIMINAL ACTION
